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                             1:24-cv-00523-RP       Document 32-11 Filed 08/19/24 Page 1 of 70




                                     IN THE UNITED STATES DISTRICT COURT
                                      FOR THE WESTERN DISTRICT OF TEXAS
                                               AUSTIN DIVISION

              STUDENTS FOR JUSTICE IN                     §
              PALESTINE, AT THE UNIVERSITY                §
              OF HOUSTON; et al.,                         §
                                                          §
                       Plaintiffs,                        §
                                                          §
              v.                                          §
                                                                       No. 1:24-CV-523-RP
                                                          §
              GREG ABBOTT, IN HIS OFFICIAL                §
              CAPACITY ONLY AS THE                        §
              GOVERNOR OF THE STATE OF                    §
              TEXAS, et al.,                              §
                                                          §
                       Defendants.                        §


                                      DECLARATION OF SHANE STREEPY

                       1.     I, Shane Streepy, am over eighteen years of age. I am fully capable of

             making this declaration. The following is within my personal knowledge and is true

             and correct:

                       2.     I am an Assistant Chief with The University of Texas Police Department

             (UTPD). My duties are to assist the Chief of Police in the leadership, management,

             and operation of UTPD.         I am tasked with controlling and commanding major

             investigations and large university special events. I am responsible for performing

             risk management assessments and developing appropriate preparedness, response,

             and mitigation guidance.

                       3.     I previously worked at the Austin Police Department (APD) for 21 years.

             While at APD, I worked several specialized ancillary assignments, including with the

             Special Response Team (SRT). The APD SRT was a specialized unit trained to deal

             Declaration of Shane Streepy                                                           1
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                             1:24-cv-00523-RP       Document 32-11 Filed 08/19/24 Page 2 of 70




             specifically with crowd control. In this position, I received specialized training in

             protest response and crowd management.

                       4.     I hold a Master of Public Affairs degree from The University of Texas at

             Austin, a Master of Criminal Justice degree from Boston University, and a Bachelor

             of Business Administration degree from The University of Texas at El Paso.

             Additionally, I am a graduate of the Northwestern University School of Police Staff

             and Command program.

                       5.     I hold a Master Texas Commission on Law Enforcement (TCOLE) Peace

             Officer License and have earned over 3,700 hours of TCOLE training covering various

             topics, including de-escalation, crowd control, and incident command and

             management.

                       6.     I was involved in preparing for and responding to the disruptive events

             that occurred on campus in April 2024. This included being amongst the crowds and

             responding personally to disruptive and threatening behavior.

                       7.     UTPD is a certified law enforcement agency that addresses criminal

             violations and safety concerns. We regularly work with other university departments

             to provide law enforcement services for events. UTPD has partnered with the Office

             of the Dean of Students (DOS) on multiple occasions in 2024, including during the

             events in April.

                       8.     We utilize a stair-stepped process to preserve order when working with

             DOS. For example, if a person becomes disruptive at an event, the Dean of Students

             staff will first ask the person to cease this behavior as it violates the rules. If they



             Declaration of Shane Streepy                                                           2
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             refuse to comply, staff will ask them to leave. At this point, they have lost the effective

             consent of the University to remain in the area. If the individual does not leave upon

             request of DOS staff, UTPD will then step in to tell them to leave. If they still refuse

             to leave, they may be arrested for criminal trespass and removed from campus. This

             is the straightforward application of the criminal trespass statutes, Section 31.05 of

             the Texas Penal Code (criminal trespass generally), and Sec. 51.204 of the Texas

             Education Code (separate offense for trespassing on campus). Arrests are always the

             last resort when dealing with these types of situations.

                       9.     This repeatedly occurred during the Palestine Solidarity Committee’s

             (PSC) Popular University event on April 24 and the subsequent event on April 29.

             DOS attempted numerous times to gain compliance, but protestors refused to listen

             and stop their behavior, and after multiple warnings, law enforcement followed our

             usual stair-stepped approach and stepped in to assist.

                       10.    Since October 7, 2023, universities have seen numerous disruptive

             events and unauthorized encampments meant to interfere with their operations.

             While some instances have only involved university rule violations, others have

             included criminal and violent behavior. This has included assaults, subjects taking

             over and destroying buildings, and outside agitators using these protests as cover for

             their own nefarious purposes. Law enforcement needed to get involved in many of

             these chaotic events.

                       11.    In mid-April, the PSC’s Popular University event came to our attention.

             The concern was that, given the national context, this event could bring to the campus



             Declaration of Shane Streepy                                                             3
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             the same dysfunction seen elsewhere. Of note was that the PSC was advertising the

             event as an extension of the coordinated effort to create encampments like those seen

             at Columbia University and that protestors at The University of Texas at Dallas had

             taken over a building the day prior to the PSC’s event at The University of Texas at

             Austin.

                       12.    The Office of the Dean of Students notified the PSC’s leadership that the

             event could not occur as planned due to the foreseeable risk of disruption and rule

             violation.

                       13.    Because there was a real chance that the group would proceed with the

             event anyway and have a large crowd (as had occurred at other campuses), UTPD

             prepared in the event law enforcement was needed. This preparation included

             requesting assistance from the Texas Department of Public Safety and the Austin

             Police Department. This request was because while we have highly skilled officers,

             UTPD is a modestly sized agency. We commonly partner with outside agencies when

             we need help with a significant event, like a football game.

                       14.    This request was also informed by what we had learned during past

             instances in Austin where large crowds of protestors turned riotous, including

             blocking the roads, assaulting officers, and destroying public property (even once

             attempting to use a Molotov cocktail to do so).

                       15.    We asked our partners to stand by just in case things devolved. The hope

             was that PSC would listen to the DOS, and these reinforcements would not be needed.

             UTPD did not set out from the beginning to make arrests, as some have now claimed.



             Declaration of Shane Streepy                                                            4
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                       16.    The decision to request support from our partners was not based on the

             PSC’s views about Palestine, Israel, or any of its other political positions, nor was it

             motivated by Governor Abbott’s previous executive order. UTPD was concerned about

             law and order and overall safety on campus.

                       17.    Avoiding a days-long tent encampment in the middle of campus was a

             critical safety objective because, as we had seen elsewhere, these hot spots were being

             used to launch other more aggressive actions, including taking over buildings. Once

             subjects barricade themselves in buildings, safety concerns increase for both the

             barricaded subjects, anyone trapped inside with them, and law enforcement.

                       18.    Also, we had seen that, in many instances, once an encampment was

             allowed to take hold, it grew in size and disruption and served as a magnet for others

             inside and outside universities. Often, it created a hot spot for physical violence

             between those encamped and other members of a university community or the public.

             Removing a small encampment is one thing, but trying to end one as large as we saw

             at Columbia is a more complicated, dangerous task. The potential for physical

             violence among those encamped, the campus community, and individuals from

             outside the university also creates an ongoing law enforcement concern that must be

             appropriately monitored and managed at the expense of the regular work to keep

             campus safe.

                       19.    Not only that, but it was also of concern that outside groups could set up

             in the encampment and try antagonizing unwitting students into being violent or




             Declaration of Shane Streepy                                                             5
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             destructive. We had seen this during previous protests in Austin and saw signs it was

             happening again in April 2024.

                       20.    For example, CrimethInc 1, which provides information to a loose

             network of anarchist groups, posted information to assist protestors in intensifying

             their efforts, including a “report” from the building occupation at Cal Poly Humboldt

             that began on April 22. 2

                       21.    The “lessons” from Cal Poly Humboldt, published on April 23, were:

                              Out of the quads, into the buildings.

                              I t’s clear that in order for this crisis to develop further,
                              student occupations should take building s whenever
                              possible . The first action of the police was to instruct the
                              occupiers to move to the quad. In saying this, they showed that
                              we can wield the most power by occupying the spaces where
                              classes are held and administrators have offices. In addition,
                              building s on campus are filled with everything you mig ht
                              need to construct barricades and protect an occupation.

                              If you build it, they will come.
                              It only took a small number of students to occupy Siemens Hall.
                              Don’t be afraid to hold your ground. This movement is strong.
                              Seeming ly out of nowhere, hundreds if not thousands will
                              come to support you. Importantly, outside crowds were able
                              to impede the police by dividing their attention. The cops
                              found themselves kettled and completely unsure of where to
                              turn. Someone set up a barbecue—free hotdogs fueled the crowd.

                              The pro-Palestinian movement must be a movement against
                              the police.
                              At every step, police will not hesitate to brutalize those who call
                              for an end to genocide in Palestine . In Gaza, Palestinians face
                              the Israeli military; in the United States, we face the police.
                              We must recog nize that these forces are one and the same:
                              they are all foot soldiers of empire.



             1 Materials from this group were found in the debris left by the UT Austin protestors.
             2 This site later issued a report on UT Austin as well. See Exhibit A.



             Declaration of Shane Streepy                                                             6
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                              Listen! organizer.

                              We need not wait for the permission of professional activists to
                              set the terms of struggle. Student occupiers acted decisively to
                              take the building without the backing of any established
                              organizations. Collectively, we found we had the skills,
                              experience, and creativity needed to carry out our action. W hile
                              student org anizations often recommend starting with a list
                              of achievable demands and entering into endless
                              neg otiations with administrators, our occupation held one
                              demand for six hours: that the police leave campus.

                              Be prepared.
                              Our town is somewhat sleepy. We underestimated the scale of
                              police repression we would face. Four years after the George
                              Floyd Uprising, we should heed its lessons. It is best to come to
                              all demonstrations with g og g les, g as masks, laser pointers,
                              and shields. You never know what a casual sleepover mig ht
                              become.

                       22.    While it was unclear who this information was reaching, these “lessons”

             were circulating locally the day before the Popular University event. 3




             3 Autonmedia describes itself as a “media project with tendencies towards the anarchic, communist,

             and criminal.”

             Declaration of Shane Streepy                                                                         7
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             Declaration of Shane Streepy                                                        9
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                       23.    On April 23, 2024, the Dean of Students notified the PSC that the

             Popular University event could not occur. When the group showed up the next day,

             staff repeatedly told them the event could not happen. When the PSC began to march

             towards the South Lawn, in complete defiance of university staff, the matter was

             turned over to law enforcement to tell the group to leave campus.

                       24.    That is when UTPD and our partner law enforcement agencies had to

             intervene. One of the officers spoke to the group over a loudspeaker, informing them

             that they were in violation of Texas law and that they needed to disperse. He advised

             that they had ten minutes to disperse before our officers would being making arrests.

             He also let the group know that they needed to leave campus to the south. The reason

             for that instruction was that we wanted to make sure that the group didn’t just

             reconvene on the South Lawn as they had originally planned. Our goal was to avoid

             arrests by giving the group the time and an appropriate route to disperse. I have

             Declaration of Shane Streepy                                                       10
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                           1:24-cv-00523-RP       Document 32-11 Filed 08/19/24 Page 11 of 70




             attached a video clip of the trooper providing this warning to the group on Speedway

             as Exhibit B.

                       25.    Officers channeled the group to move south on Speedway, a north-south

             street through campus. When they reached a corner toward the south end of campus,

             we hoped they would disperse, but instead, they locked arms, confronted our officers,

             and continued chanting.

                       26.    Then, we made another dispersal order over the loudspeaker. This time,

             our officers gave the group a two-minute warning before arrests would begin. The

             route going to the east was left open for them to leave.

                       27.    It looked like the group would disperse for a moment, but then they

             circled back onto campus and congregated on Speedway to continue their

             demonstration. I have attached a video clip to give the Court a sense of what it was

             like when PSC continued loudly demonstrating in front of McCombs School of

             Business as Exhibit C.

                       28.    Still, we did not begin arrests. Our officers continued to reiterate the

             dispersal order and continued to be ignored.

                       29.    Officers talked with the group’s leader, who argued that the group kept

             coming back to Speedway so that they could go “home.” That didn’t make sense

             because the group had open routes to the east and south to leave campus. It was clear

             to us that the problem wasn’t that they needed a way out—it was that they wanted a

             way back into the central campus and eventually to the South Lawn.




             Declaration of Shane Streepy                                                          11
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                       30.    Finally, after nearly an hour of warnings, we began making arrests for

             criminal trespass. Members of the crowd surrounded officers, screamed at our

             officers, threw horse excrement, and resisted arrest. The chaotic scene was only

             worsened by protestors and others standing off Speedway in the landscaping, riling

             the crowd and locking arms to prevent officers from securing arrestees.

                       31.    While this was all happening, many of the protestors got to the South

             Lawn and began to set up an encampment. DOS tried to talk with the protestors and

             get them to take down the encampment and leave. When that failed, UTPD issued

             several dispersal orders via loudspeaker, text, email, social media, and emergency

             broadcast system. When hundreds of people still refused to leave, our officers began

             to make arrests. It took hours to clear the area. I have attached several video clips to

             allow the Court to see and hear the loud and chaotic scene on the South Lawn that

             day as Exhibits D, E, F, G, H, I, J, K, L, M and N.

                       32.    UTPD and our law enforcement partners only made arrests after

             repeated dispersal notices, after the time windows we gave for dispersal were

             repeatedly passed, and after multiple orders to the group’s leadership proved

             fruitless.

                       33.    During the next few days, protestors returned to campus. However, the

             conduct at some of these events differed from what we saw on April 24. While we were

             prepared to intervene if needed, we did not need to step in because the group

             cooperated with the DOS staff and held their events in accordance with the rules.

             They did not attempt to set up an encampment.



             Declaration of Shane Streepy                                                         12
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                       34.    On April 29, 2024, protestors began another event by sitting on the lawn,

             not causing a disruption. UTPD did not interact with the group or stop their event at

             that time. Around noon, protestors took the materials they brought and quickly set

             up an encampment in the middle of the South Lawn. This included a timed and

             coordinated moment of turning over tables and connecting them with chains and

             holding heavy wooden signs to fortify their position against law enforcement. Given

             the chains, mallets, thick metal wire, and padlocks the protestors snuck onto campus

             in their coolers, it was evident this maneuver was pre-planned.

                       35.    Despite the warm (bordering on hot) weather and no chance of rain,

             many in the group wore long sleeves, hats, and masks or items wrapped around their

             faces. 4 Many also wore goggles and pointed open umbrellas toward officers like a

             shield. Based on my training experience, these are common tactics used by rioters to

             hide their identities and prevent law enforcement from effectively using pepper spray

             to gain compliance if needed.

                       36.    As was the case on April 24, DOS made the first attempt to gain

             compliance. When that did not work, UTPD and its law enforcement partners gave

             the group numerous dispersal orders. Notably, an Austin Police Officer working with

             our team to remove protestors from the locked-arm circle told each person

             individually that they needed to leave, but if they didn’t, they would be arrested, and


             4 This occurred on April 24 as well. While students hiding their identities is acceptable to some, this

             tactic, which is taught online to individuals who wish to engage in destructive and violent events,
             impedes law enforcement’s ability to perform their jobs in the moment and to hold those who violate
             the law accountable by filing charges. I understand that some people may have legitimate medical and
             religious reasons for wearing masks. However, these people still need to identify themselves, at least
             with proper identification, or briefly remove a medical mask when DOS asks them. They refused to do
             this on both April 24 and 29.

             Declaration of Shane Streepy                                                                        13
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             resisting arrest could lead to further charges. Some left, others still refused, and were

             arrested. I have attached video clips to allow the Court to see and hear what occurred

             on the South Lawn as Exhibits O, P, Q, R, S, T, U and V.

                       37.      When the attempted encampment was cleared, many protestors began

             roving around campus, often in groups, blocking traffic and trying to stop buses

             holding arrestees and troopers from leaving campus. During this process, protesters

             slashed tires on law enforcement vehicles and threw various items at officers. I have

             attached video clips to show the Court what occurred as Exhibits X, Y, Z and AA.

                       38.      Eventually, after 9:00 p.m, the crowd left campus.

                       39.      During both days (April 24 and 29), weapons and dangerous items were

             found in the crowd or hidden in the area. This included buckets/piles of rocks, bricks,

             steel-enforced wood planks, knives, mallets, and numerous 5-gallon water jugs. 5

                       40.      In my training and experience, it is common for groups planning to

             engage in a riot or hurt others, including officers, to hide or stockpile items that can

             be used as weapons in the area.

                       41.      One protestor had a handgun in his waistband with a round in the

             chamber and extra magazines; he was unlawfully carrying the gun on campus

             without a license. Another protestor had a pellet gun that looked like an operable

             handgun.




             5 While these jugs may seem innocent, protestors on other campuses had used them as weapons to

             strike officers.


             Declaration of Shane Streepy                                                               14
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                       42.    Stacks of authenticated and actual Hamas propaganda pamphlets were

             also found in the encampment's debris. I have attached these materials as Exhibit

             BB.

                       43.    Protesters photographed officers and university staff. Our images and

             names have not only been circulated online, but two of our officers ended up pictured

             on a banner in Yemen and featured on National SJP’s Instagram page.




             Declaration of Shane Streepy                                                        15
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             Declaration of Shane Streepy                                                       16
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                       44.    The Islamic Republic of Iran has also issued official sanctions against

             me personally. 6




             6        Exhibit      CC;       https://sanctionlist.mfa.ir/portal/product/11554/491/Shane-Streepy.
             https://x.com/MintPressNews/status/1783933900114239883.

             Declaration of Shane Streepy                                                                    17
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             PURSUANT TO 28 U.S.C. § 1746, I VERIFY UNDER PENALTY OF PERJURY UNDER
             THE LAWS OF THE STATE OF TEXAS AND THE UNITED STATES OF AMERICA
             THAT THE FOREGOING IS TRUE AND CORRECT.


                                          
                       Executed on ____________________, 2024




                                                       Shane Streepy
                                                       Assistant Chief
                                                       University Police Department
                                                       University of Texas at Austin




             Declaration of Shane Streepy                                                       18
Case 1:24-cv-00523-RP Document 32-11 Filed 08/19/24 Page 19 of 70




                                   EXHIBIT A
   CrimethInc. Day One: University of Texas Austin Students Take the Lawn: A Report
7/23/24, 10:55 AM        Case 1:24-cv-00523-RP      Document
                                           CrimethInc.               32-11
                                                       : Day One: University      Filed
                                                                             of Texas Austin08/19/24         Page
                                                                                             Students Take the        20
                                                                                                               Lawn : A   of 70
                                                                                                                        Report




   Day One: University of Texas
   Austin Students Take the
   Lawn
   A Report
   2024-04-25
   On April 24, students, faculty, and community members assembled on the campus
   of the University of Texas at Austin to demonstrate against the complicity of the
   university administration in the ongoing genocide in Gaza. Fearing a repeat of
https://crimethinc.com/2024/04/25/day-one-university-of-texas-austin-students-take-the-lawn-a-report                              1/11
                         Case 1:24-cv-00523-RP      Document         32-11        Filed
                                                                                      Austin08/19/24         Page     21  of 70
   the upheavals that have taken place at Columbia University and elsewhere
7/23/24, 10:55 AM                          CrimethInc. : Day One: University of Texas        Students Take the Lawn : A Report




   around the country, campus authorities mobilized a massive number of police in
   response. Yet despite arrests and violence, the demonstrators ultimately outlasted
   and outmaneuvered the police. In the following report, participants describe what
   they learned.


   Student-led solidarity actions at universities have been taking place for six months
   already. In the last week, however, they have escalated, with encampments and walkouts
   at over 40 campuses across the country. Students as far away as Australia, Italy, and
   France have organized their own encampments and other protests in solidarity. In the last
   48 hours, new encampments have appeared on at least fourteen US campuses, including
   at least three encampments—in Atlanta, Philadelphia, and Washington, DC—that are
   cross-institutional collaborations. Police have evicted some of these, but others continue
   to hold their ground. Over that same period of time, at least six schools have hosted
   walkout demonstrations. Two school encampments took over campus buildings.




https://crimethinc.com/2024/04/25/day-one-university-of-texas-austin-students-take-the-lawn-a-report                              2/11
7/23/24, 10:55 AM        Case 1:24-cv-00523-RP      Document
                                           CrimethInc.               32-11
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                                                                             of Texas Austin08/19/24         Page
                                                                                             Students Take the        22
                                                                                                               Lawn : A   of 70
                                                                                                                        Report




   The Gaza solidarity encampment on the East Lawn of Columbia University on Wednesday, April 17.




   The Gaza solidarity encampment on the West Lawn of Columbia University one week later.


https://crimethinc.com/2024/04/25/day-one-university-of-texas-austin-students-take-the-lawn-a-report                              3/11
7/23/24, 10:55 AM        Case 1:24-cv-00523-RP      Document
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                                                                             of Texas Austin08/19/24         Page
                                                                                             Students Take the        23
                                                                                                               Lawn : A   of 70
                                                                                                                        Report

   In the wake of the events described below, UT faculty members published a courageous
   statement in support of the demonstrators and joined some of the student organizers
   who were arrested yesterday in organizing a massive rally for today, which drew 2000
   people to the South lawn. In speeches, some of the student activists directly connected
   the ongoing movement to the nationwide uprising that took place in 2020 in response
   to the murders of George Floyd, Breonna Taylor, and others.
   Defending specific territory gives a movement a place to cohere and opens up a space in
   which the participants can build relationships and go through a process of political
   development. At the same time, it provides adversaries a fixed target against which to
   direct pressure. Defending encampments in the open is more challenging than defending
   indoor occupations, even if the latter can entail greater legal risk. In both cases, what
   happens outside and around the police response usually determines the outcome at least
   as much as what occurs inside the occupation. As the building occupation at Cal Poly
   Humboldt demonstrated, police can only besiege and evict occupations if they are not
   themselves besieged.
   Current campus organizers might benefit from reading participants’ reflections on the
   “autonomous zones” of the 2020 uprising:
       Even if our goal is simply to hold a particular physical space, we have to prioritize
       carrying out offensive activities throughout society at large that can keep our
       adversaries on the defensive, while investing energy in the activities that nourish
       movements and spaces rather than focusing on defending particular boundaries. We
       should understand occupied spaces as an effect of our efforts, rather than as the
       central cause we rally around.
   It might also be instructive to consult the experiences of the student occupation
   movement of 2008-2010.
   Centrist media outlets have dishonestly portrayed the participants in these
   demonstrations as “anti-Semitic,” intentionally obscuring the fact that a significant
   plurality of the organizers are anti-Zionist Jews. In fact, only four months ago, leaders of
   the Republican Party of Texas voted against barring members from associating with
   Nazis and Holocaust deniers after a prominent Texas Republican hosted a well-known
   white supremacist and anti-Semite. Those who are repressing these demonstrations are
https://crimethinc.com/2024/04/25/day-one-university-of-texas-austin-students-take-the-lawn-a-report                              4/11
7/23/24, 10:55 AM        Case 1:24-cv-00523-RP      Document
                                           CrimethInc.               32-11
                                                       : Day One: University      Filed
                                                                             of Texas Austin08/19/24         Page
                                                                                             Students Take the        24
                                                                                                               Lawn : A   of 70
                                                                                                                        Report

   the ones with ties to organized anti-Semitism. As students chanted yesterday in Austin,
   “APD, KKK, IDF they’re all the same!”
   Israeli Prime Minister Benjamin Netanyahu maintains that the Israeli military is still
   determined to carry out a ground assault on Rafah, where over a million refugees are
   currently crowded. If the events of the past six months are any indication, should such an
   invasion take place, it will result in the deaths of at least tens of thousands more
   Palestinians, disproportionately impacting women and children. This is the horrific
   scenario that demonstrators are mobilizing to prevent. Everyone who aspires to stand
   in solidarity with Palestinians should be thinking right now about what they can do
   to prevent Netanyahu from ordering a ground assault on the people in Rafah.




   Students assembling with umbrellas on the night of April 24 to defend the Gaza solidarity encampment at Emerson University. Police
   carried out a massive raid shortly afterwards, arresting 108 people and leaving blood all over the pavement.




https://crimethinc.com/2024/04/25/day-one-university-of-texas-austin-students-take-the-lawn-a-report                                    5/11
   University of Texas Austin Students Take
7/23/24, 10:55 AM        Case 1:24-cv-00523-RP      Document
                                           CrimethInc.               32-11
                                                       : Day One: University      Filed
                                                                             of Texas Austin08/19/24         Page
                                                                                             Students Take the        25
                                                                                                               Lawn : A   of 70
                                                                                                                        Report




   the Lawn
   On April 24, 2024, students, faculty, and community members converged at the
   University of Texas at Austin campus (UT) to protest the ongoing genocide of
   Palestinians. The initial protest, a walkout from classes and a Popular University
   spearheaded by the Palestine Solidarity Committee, drew several hundred people to the
   area surrounding the Gregory Gymnasium. At the behest of the University President Jay
   Hartzell, an unprecedented array of militarized police immediately attacked the protest,
   including mounted police officers, heavily armed state troopers (some bussed in from
   Houston), and officers from the Austin and the University of Texas police departments.
   Over the next six hours, thousands bravely confronted the police officers, playing a game
   of cat and mouse across campus that culminated in an hours-long standoff in the South
   Lawn. Eventually, the police were forced to withdraw and the crowd won control of the
   Lawn.
   Unable to countenance any resistance to the ongoing acts of violence they sponsor, US
   authorities have deployed police to universities across the country, including New York
   University, the University of Minnesota, the University of Southern California,
   Emory, and Emerson. UT Austin was no outlier to this emerging dynamic. Before the
   protest even began, the University was prepared to deploy police in large numbers.
   As soon as people assembled, police wasted no time charging and snatching people from
   the crowd, clubbing and pushing without provocation. The crowd persevered, repeatedly
   routing officers or surrounding them in larger and larger concentric circles. On multiple
   occasions, small clusters of officers found themselves enclosed on all sides by crowds
   that outnumbered them by an order of magnitude. In the end, it was the police who gave
   up and left campus in defeat.
   The dedication and creativity of these demonstrators is worth celebrating. Our
   contemporaries at encampments in universities across the country have provided us with
   their own hard-earned insights and reflections. In return, we send warm greetings to
   them and humbly offer a few reflections on yesterday’s events for our comrades
   struggling at UT Austin and to those elsewhere who are still planning their next moves.

https://crimethinc.com/2024/04/25/day-one-university-of-texas-austin-students-take-the-lawn-a-report                              6/11
7/23/24, 10:55 AM        Case 1:24-cv-00523-RP      Document
                                           CrimethInc.               32-11
                                                       : Day One: University      Filed
                                                                             of Texas Austin08/19/24         Page
                                                                                             Students Take the        26
                                                                                                               Lawn : A   of 70
                                                                                                                        Report




   Bold Actions,
   Contagious    Bold Words—Courage Is
   All of the police tactics aimed to instill fear: large numbers, riot gear, horses towering over
   the crowd, vague commands, snatching protestors one by one.
   Demonstrators did not succumb to fear—and were rewarded for their courage. When
   police grabbed the first person, students surged forward chanting “Let them go,”
   encircling the police cruisers and lining up face to face with helmeted police. Bold actions
   resonated broadly in the crowd. The crowd took space forcefully, eventually kettling the
   police on the walkway. It was tense and sweaty, with a steep learning curve, but five hours
   of facing off with the police made the crowd more confident, not less.
https://crimethinc.com/2024/04/25/day-one-university-of-texas-austin-students-take-the-lawn-a-report                              7/11
   No More Wait and See!
7/23/24, 10:55 AM        Case 1:24-cv-00523-RP      Document
                                           CrimethInc.               32-11
                                                       : Day One: University      Filed
                                                                             of Texas Austin08/19/24         Page
                                                                                             Students Take the        27
                                                                                                               Lawn : A   of 70
                                                                                                                        Report




   Twenty minutes into the action, the march became headless. But it was never
   directionless, and its refusal to be controlled was a strength.
   Moments of stagnation, imposed both from within and without, repeatedly gave the
   police the opportunity to make the first move. In these moments, the words and
   improvised gestures of individuals enabled the crowd to develop its collective
   intelligence. Whenever the cops succeeded in splitting us between police lines, on
   opposite sides of a thoroughfare, on opposite sides of a building, our calls to action
   flowed like water around them.
   Proposals spread throughout the crowd. Some fizzled out. Others caught on, sparked
   enthusiasm, and spread like wildfire until the whole crowd shared a goal. The lawn! We’re
   taking the lawn!
   Students succeeded in achieving the goal of taking the lawn by choosing not to wait for
   instructions and by getting creative, finding and showing each other back routes to it.
   Police attempted to block the march on a main road, but participants split up and dashed
   through alleys, hopped down stairs, ducked around bushes and into buildings. Doors
   were propped open and hundreds poured through them onto the unguarded lawn.
   Passing through these buildings was a baptismal moment.
   In Europe, this strategy of breaking up and reforming on the other side of obstacles is
   called five fingers make a fist.

   Keep Moving, but Don’t Run Away
   The march was most successful when the participants maintained the initiative, moving
   before the police moved them. In the most inventive moments, the crowd remained
   mobile, responding to dispersal orders and impenetrable police lines by spontaneously
   redirecting the march.
   Sometimes, in protest movements, crowds simply flee from confrontations in hopes of
   “remaining flexible.” Thankfully, this is not what happened at UT. There is a balance
   between confronting obstacles and remaining unpredictable. While it is necessary to
https://crimethinc.com/2024/04/25/day-one-university-of-texas-austin-students-take-the-lawn-a-report                              8/11
7/23/24, 10:55 AM        Case 1:24-cv-00523-RP      Document
                                           CrimethInc.               32-11
                                                       : Day One: University      Filed
                                                                             of Texas Austin08/19/24         Page
                                                                                             Students Take the        28
                                                                                                               Lawn : A   of 70
                                                                                                                        Report

   make the best of moments when we are forced back or out, in the long run, movements
   need to be able to force out the police. Instead of engaging in protracted face-offs and
   waiting to be dispersed or moved, we should take this lesson from Thursday to heart:
   fight where it is possible; where it isn’t, remain mobile.

   Surround Them
   Despite their heavy-handed tactics, the police failed to control the crowd. They had the
   lawn, but we had everything else. All afternoon, students, faculty, and community
   members flowed into and around the South Mall. Police got themselves surrounded
   repeatedly, and eventually had to push through the crowd to obtain access to food and
   water. Protesters could have done more to take advantage of that moment. Spatially
   speaking, as long as the police occupied the lawn, we had the upper hand.
   While they had to defend their precarious position against wave after wave of students,
   we could come and go, regroup, take breaks. When horse-mounted cops rushed the
   crowd in order to sweep the sidewalk, they weren’t attempting to control the crowd or
   push us anywhere in particular. They were trying to escape.

   Make Space(s) Worth Defending
   To sustain momentum, especially the momentum of an occupation, people must have a
   vision of what they are fighting to defend, what they want to create together. Spaces of
   joyful imagination and exuberance give us momentum and direction even when there is
   not a line of police or enemies to confront. Chanting can keep spirits high during the
   direct confrontations, but nobody can shout all day, and the energy of the space dies
   along with the chant. Blankets over the lawn become supply depots, where the
   distribution of pizza or hand sanitizer becomes a site for the collective reproduction of
   our lives. Office supplies become the ingredients for a direct-action training. These
   efforts reproduce themselves in ways that words alone cannot.
   As soon as we occupy a space together, we should fill it up. Every friend, classmate,
   coworker should be called to join us, bringing things to sustain the space and refresh the
   front lines. Food, water, games, activities, and music can provide an anchor for our
https://crimethinc.com/2024/04/25/day-one-university-of-texas-austin-students-take-the-lawn-a-report                              9/11
7/23/24, 10:55 AM        Case 1:24-cv-00523-RP      Document
                                           CrimethInc.               32-11
                                                       : Day One: University      Filed
                                                                             of Texas Austin08/19/24         Page
                                                                                             Students Take the        29
                                                                                                               Lawn : A   of 70
                                                                                                                        Report

   resistance. What we do together in these moments will shape what we will be capable of
   doing with the rest of our lives.


   With a little more initiative, small organized groups could have taken advantage of the
   situation to greater effect. Much of the campus was left vulnerable. That being said, the
   confidence built by yesterday’s events was obvious to anyone who remained on the lawn.
   It will only continue to grow. For now, some university faculty have declared “No classes,
   no grading, no work,” and will be gathering at noon to pick up where yesterday left off.
   [Editor’s note: at the time of publication, this had already occurred; see the introduction
   for details.] The concession of the lawn by the administration represents a definitive win.
   What happens next will be determined by those who are willing to continue taking bold
   action. The circumstances demand it of us. Do what is necessary to stop the genocide in
   Gaza. Defeat is not an option.

   Further Resources




https://crimethinc.com/2024/04/25/day-one-university-of-texas-austin-students-take-the-lawn-a-report                              10/11
7/23/24, 10:55 AM        Case 1:24-cv-00523-RP      Document
                                           CrimethInc.               32-11
                                                       : Day One: University      Filed
                                                                             of Texas Austin08/19/24         Page
                                                                                             Students Take the        30
                                                                                                               Lawn : A   of 70
                                                                                                                        Report




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https://crimethinc.com/2024/04/25/day-one-university-of-texas-austin-students-take-the-lawn-a-report                              11/11
  Case 1:24-cv-00523-RP Document 32-11 Filed 08/19/24 Page 31 of 70




                                       EXHIBIT B
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  Case 1:24-cv-00523-RP Document 32-11 Filed 08/19/24 Page 32 of 70




                                       EXHIBIT C
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  Case 1:24-cv-00523-RP Document 32-11 Filed 08/19/24 Page 33 of 70




                                      EXHIBIT D
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  Case 1:24-cv-00523-RP Document 32-11 Filed 08/19/24 Page 34 of 70




                                      EXHIBIT E
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  Case 1:24-cv-00523-RP Document 32-11 Filed 08/19/24 Page 35 of 70




                                       EXHIBIT F
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  Case 1:24-cv-00523-RP Document 32-11 Filed 08/19/24 Page 36 of 70




                                      EXHIBIT G
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  Case 1:24-cv-00523-RP Document 32-11 Filed 08/19/24 Page 37 of 70




                                      EXHIBIT H
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  Case 1:24-cv-00523-RP Document 32-11 Filed 08/19/24 Page 38 of 70




                                       EXHIBIT I
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  Case 1:24-cv-00523-RP Document 32-11 Filed 08/19/24 Page 39 of 70




                                       EXHIBIT J
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  Case 1:24-cv-00523-RP Document 32-11 Filed 08/19/24 Page 40 of 70




                                       EXHIBIT K
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  Case 1:24-cv-00523-RP Document 32-11 Filed 08/19/24 Page 41 of 70




                                       EXHIBIT L
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  Case 1:24-cv-00523-RP Document 32-11 Filed 08/19/24 Page 42 of 70




                                      EXHIBIT M
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  Case 1:24-cv-00523-RP Document 32-11 Filed 08/19/24 Page 43 of 70




                                      EXHIBIT N
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  Case 1:24-cv-00523-RP Document 32-11 Filed 08/19/24 Page 44 of 70




                                      EXHIBIT O
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  Case 1:24-cv-00523-RP Document 32-11 Filed 08/19/24 Page 45 of 70




                                       EXHIBIT P
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  Case 1:24-cv-00523-RP Document 32-11 Filed 08/19/24 Page 46 of 70




                                      EXHIBIT Q
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  Case 1:24-cv-00523-RP Document 32-11 Filed 08/19/24 Page 47 of 70




                                       EXHIBIT R
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  Case 1:24-cv-00523-RP Document 32-11 Filed 08/19/24 Page 48 of 70




                                       EXHIBIT S
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  Case 1:24-cv-00523-RP Document 32-11 Filed 08/19/24 Page 49 of 70




                                       EXHIBIT T
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  Case 1:24-cv-00523-RP Document 32-11 Filed 08/19/24 Page 50 of 70




                                      EXHIBIT U
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  Case 1:24-cv-00523-RP Document 32-11 Filed 08/19/24 Page 51 of 70




                                       EXHIBIT V
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  Case 1:24-cv-00523-RP Document 32-11 Filed 08/19/24 Page 52 of 70




                                      EXHIBIT W
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  Case 1:24-cv-00523-RP Document 32-11 Filed 08/19/24 Page 53 of 70




                                       EXHIBIT X
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  Case 1:24-cv-00523-RP Document 32-11 Filed 08/19/24 Page 54 of 70




                                       EXHIBIT Y
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  Case 1:24-cv-00523-RP Document 32-11 Filed 08/19/24 Page 55 of 70




                                       EXHIBIT Z
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  Case 1:24-cv-00523-RP Document 32-11 Filed 08/19/24 Page 56 of 70




                                      EXHIBIT AA
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Case 1:24-cv-00523-RP Document 32-11 Filed 08/19/24 Page 57 of 70




                             EXHIBIT BB
              Hamas Propaganda Found in PSC-UT’s Encampment
                      Case 1:24-cv-00523-RP Document 32-11 Filed 08/19/24 Page 58 of 70

  Austin, Texas - April 29, 2024


 On Monday, April 29 at 12:30 pm, the studenB of the University of Texas at Austin united with the solidarity and proiection of
 Austin community members to establish an eccampment on the UT Austin campus. The encampment started with a handful of
 tents and activists on the campus South Ma!! Lawn which students renamed The Liberated Zone. Their aim is to explicitly call
 attention to the ongoing genocide in Gaza that (tie UT system is overtly complicit in supporting. With the threat of the invasion of
  Rafah where thousands of Palestinians are currently living in tents, studeius are putting a halt to business as usual in a brave act of solidarity
 with the people of Palestine.


  "After 205 days of genocide and almost 40,000 Palestinian martyrs, it is'shamehil that UT continues to invest in mass murder and resorts to
  brutal intimidation tactics to try to silence its own students, who are bravely taking a stand against genocide," said Lenna Nasr of the
  Palestinian Youth Movement.
             »



  UT is one of the biggest investors in weapons manufacturing to groups such as Boeing, General Dynamics, Lockheed Martin,
  Northrop Grumman, and.RTX (formerly Raytheon). It is the second largest university endowment in the country supplying $45
  billion - second only to Harvard at $50 billion. The University also houses a robotics laboratory that plays a key role in the
  University's partnership with the Ulted States, Army who collaborate to create and test weapons used by Israel to Genocide the
  Palestinian people.


  "We demand that UT divest from the Zionist state offtrae! and from all institutions and companies that are enabling the current genocide in
 Gaza; and, we demand the resignation of President Hartzell for green lighting the militarized repression of peaceful student protesters on
 their own campus," said Nasr. »



    i
    ast week on Wednesday, April. ^4, UT Austin students peacefully gathered to express their first amendment rights in solidarity
  with Universities across the country calling for div.e'Stment from weapons manufacturers and an end to Genocide of the
  Palestinjan people. During the peacefuf expression of Fjrst Amendment rights, UT Austin President Jay Hartzell and Texas Gov.
  Greg Abbott ordered State Troopers tcMgs.cend on the students in droves, tackling and violentiy arresting over 70 students and
  community mergers.
                                                                                                                                          *
                          »      •        »      ,
 The Jewish Voice for Paace chapter fh A^in Texas sent the following statement, "As Jewish members of the Austin community, we
^vholeheartedly condemn L"? Austin's represflk ofpro-Palestine st'idents, especially when such repression is under the guise of combating
Vtmtisemitism. It is because we ».re Jews, not *i spite of it, thai we cal,.' fpri.he full liberation of Palestj'ne. Our own histories ofoporessibn and
 resistance compel it. We refut . anv Zio^tdieto^d"-. 'aa^^t, t^pfi < ur struggles against one m.offier and silence protesters in thename of
 Jewish safety, wc-apmi me c(,,re demand oFtRe Palestinian Soiidarity Coi imirtee that UT Austin Ji'.'esi from all companies that profit from
 and contribute to Israel's gen'^ide in Gaza."



  Students and faculty togeiher are demanding the resignation of Hartzell as a direct response to the violence he called in and
  exacted on students on campus April 24th.


  "This has broken our bond of trust that existed within the student body and its president. We are joining over 500 faculty that are
  also calling for the resignation and/or firing of of Jay Hartzell. He has made clear that he plans to militarize campus and make \\.
  unsafe for the diverse student body. As the genocide in Gaza continues, we cannot stand idly by as students. At UT, our slogan is 'What
  starts here changes the'^vorld' and that's just what we are doing. To protect our right to free speech and prevent a repeat of last Wednesday,
  we call un community members to come to our defense. We will not stop until Jay Hartzell resigns and the University divests. Ceasefire
  now!" said a UT Graduate student who wishes to remain anonymous due to the threats.


  On March 27, 2024, Texas Governor Greg Abbott signed a discriminatory and anti-Palestinian Executive Order "Relating to
  addressing acts of antisemitism in institutions of higher education." This Executive Order mandates Texas universities to
  "Review and update free speech policies" to address Palestinian organizing on Texas university campuses.


  This violation is an attempt to distract from an honest message to stop murdering Palestinians, shared by hundreds of Jewish students and
  community members. This suppresses the right of students and the community stepping up to protect their right to speak out
  against the ongoing Genocide and ending the siege on Gaza.


  Veterans in Texas are showing up in defense of the students right to free speech.


  "When we enlisted we swore an oath to support and defend the constitution from all enemies foreign and domestic," said United
  States Army Ranger, Greg Stoker. "It turns out we fought in illegal occupational wars and the enemy was never really coming from
  overseas. Our enemies are here, they've always been here, enabling a genocide with our taxes and trying to strip away our right
  to freedom of speech and assembly."


  For press inquiries, please reach out to Uj^Llberyno;; ..^^SIgU'rottiilJDe or 512-702-6434.
       Case 1:24-cv-00523-RP Document 32-11 Filed 08/19/24 Page 59 of 70




           DAY OF RESISTANCE TOOLKIT
                                   INTRODUCTION

National Students for Justice in Palestine is calling for a national day of resistance on
college campuses across occupied Turtle Island and internationally this Thursday, October
12th, 2023

On the 50th anniversary of the 1973 war, the resistance in Gaza launched a surprise
operation against the Zionist enemy which disrupted the very foundation of Zionist settler
society. On the morning of October 8th, the Palestinian resistance stormed the illegitimate
border fence, gaining control of the Gaza checkpoint at Erez, and re-entering 1948 Palestine.
Referred to as Operation Towfan Al-Aqsa (Al-Aqsa Flood), the resistance has taken
occupation soldiers hostage, fired thousands of rockets, taken over Israeli military vehicles,
and gained control over illegal Israeli settlements. In the West Bank, the Palestinian
resistance has called for collective action by the Palestinian masses amidst attempts by the
Zionist entity to lock-up the West Bank. The Palestinian resistance has called for mass
protests in every Palestinian city, and Palestinian workers have called for a general strike. ​In
Gaza, Israel has launched an onslaught of airstrikes. As of Sunday, Oct 8th at 12pm ET, Israel
has murdered 320 Palestinians and left over 2200 others injured. Despite this, our people
choose resistance over negotiated cages on our homeland. Fearlessly, our people struggle
for complete liberation and return.

Today, we witness a historic win for the Palestinian resistance: across land, air, and sea, our
people have broken down the artificial barriers of the Zionist entity, taking with it the facade
of an impenetrable settler colony and reminding each of us that total return and liberation to
Palestine is near. As the Palestinian student movement, we have an unshakable
responsibility to join the call for mass mobilization.

National liberation is near— glory to our resistance, to our martyrs, and to our steadfast
people.

JOIN THE DAY OF RESISTANCE NATIONAL CALL-IN MEETING
   ● On Monday, October 9th @ 5:00 PT/ 7:00 CT/ 8:00 ET, we will be hosting a national
      call-in meeting to meet with chapters, talk through the political significance of this
      moment, talk through how-to’s for the protest day of action and troubleshoot any
      support needed. Please RSVP here: https://forms.gle/AbK7RmidTRPYVcAfA

CALL TO ACTION: NATIONAL DAY OF RESISTANCE
   ● On Thursday, October 12th, National Students for Justice in Palestine is calling for a
      national day of resistance from the student movement for Palestine liberation on
      college campuses across occupied Turtle Island (so-called US and Canada) and
      beyond. We must continue to resist directly through dismantling Zionism, and
      wielding the political power that our organizations hold on our campuses and in our
      communities. We are asking chapters to host demonstrations on campus/in their
       Case 1:24-cv-00523-RP Document 32-11 Filed 08/19/24 Page 60 of 70



       community in support of our resistance in Palestine and the national liberation
       struggle — one which they play a critical role in actualizing.
   ●   Please fill out this brief form to let us know what events you will be hosting! These
       will be posted and publicized on our social media – filling out this form will help us
       better coordinate and unify nationally as a student movement
       https://forms.gle/H7uqKuVL22AAtzUZA
   ●   Please upload any pictures or videos that you are comfortable with us sharing here!
       https://drive.google.com/drive/folders/1r4_5Ugt9eocMgvqm2J7FXlxRGTy0vXBJ

We will also be having a “how to organize a protest,” including roles, security, media
training, and more, on the National Call-in meeting on Monday, Oct 9th at 8pm ET. The
presentation + resources shared will be added to the tool-kit following the presentation.
If you need additional help organizing or planning your protest, please reach out to National
Students for Justice in Palestine. (RSVP link above).

If a protest is not possible, engagement across the movement — whether it be a sit-in,
disruption, or educational event — is highly encouraged!
Other ways to participate
     1. Table/Flyer on campus
            a. Challenging Zionist hegemony and popularizing our resistance is a critical part
                 of advancing our national movement! Print flyers to put up around your
                 campus. We encourage you to use any of the graphics linked in this toolkit.
                 Here is a Tabling 101, and for examples of tabling materials, click here and
                 here, For some tips on how to table and how to respond to common Zionist
                 arguments, click here
     2. Teach-ins
            a. Make sure people on your campus know what’s happening in Palestine, and
                 are armed with a framework which advances national liberation– host a
                 teach-in on your campus! We will include a teach-in during the National
                 Call-in meeting – please attend for inspiration. We will also be linking the
                 presentation in the toolkit following the call-in meeting.
     3. Sign onto statement from Bears for Palestine
            a. We welcome both individual and organizational endorsements onto this
                 statement by Berkeley Bears for Palestine in unwavering support of the
                 Palestinian resistance
            b.      Towfan Al-Aqsa Statement – Bears for Palestine
     4. Write a local statement of solidarity
            a. Statements of support show a cohesive and united movement. Work with
                 other organizations on your campus to put out a joint statement expressing
                 your campus’ support for Palestine.
     5. Share within your network/region:
            a. If you’re near other SJPs, let them know what you’re planning! If you’re in close
                 geographic proximity to one another, you may be able to plan a joint action.
     6. Help spread the word by sharing widely on your campuses and in your communities
            a. Contact student organizations across movements to share your action on
                 social media. Engage your community, and let everyone know that the
                 student movement on occupied Turtle Island stands firmly in support of
                 Palestinian resistance.
       Case 1:24-cv-00523-RP Document 32-11 Filed 08/19/24 Page 61 of 70




                             MESSAGING & FRAMING

For over 75 years, our Palestinian people, through steadfast resistance, have waged
a prolonged war for liberation and return to our colonized homeland. What we are
witnessing now is a heightened stage of the Palestinian struggle–through tearing
down colonial infrastructure and liberating our colonized land from illegal
settlements and military checkpoints, our people are actualizing revolution.
Palestine will be liberated from the river to the sea, and our resistance, through their
bravery and love for land, continue to bring dignity and honor to the Palestinian
people. As the diaspora-based student movement for Palestine liberation, our
responsibility is to not only support, but struggle alongside our people back home.
The forces of Zionism engage in media campaigns which attack our people and
resistance from all sides– it is our responsibility, therefore, to break through their
hegemonic narratives of “war” and “unprovoked aggression,” and instead ground our
campuses and communities in a narrative which centers the legitimacy of resistance
and the necessity of complete liberation. Please find below a breakdown of
framework and important messaging which help contextualize, frame, and above all
normalize and support our fearless resistance.

   ●   When people are occupied, resistance is justified — normalize the resistance.
          ◆ The Palestinian people have the right to resist colonization and oppression. The
             Palestinian people have the right to return to their homeland and free
             themselves from the complete land, air, and sea siege they’ve been subjected
             to; this requires resistance, and it is both morally just and politically necessary.
             These events are the natural and justified response to decades of oppression
             and dehumanization.
          ◆ The fight for Palestinian liberation is a necessary struggle against an
             occupying and colonial state; not a “war” or “conflict.” It is a struggle for
             national liberation.
          ◆ In the eyes of the West, there is no “right” way for Palestinians to fight for their
             freedom. Every tactic is met with repression.
          ◆ The occupation, the day to day and the existence of Israel is not peaceful;
             there is no ‘maintaining the peace’ with a violent settler state.
          ◆ Settlers are not “civilians” in the sense of international law, because they are
             military assets used to ensure continued control over stolen Palestinian land.
          ◆ Responsibility for every single death falls solely on the zionist entity. They do
             not care one bit for the Geneva Conventions but demand Palestinians follow
             them to the letter.
   ●   Gaza as the cradle of resistance
          ◆ Gaza broke out of prison. Resistance fighters captured one of the bulldozers
             used to destroy Palestinian homes, and used it to breach the illegitimate
             border fence back into ‘48 Palestine.
          ◆ Gaza is being subject to collective punishment because the occupation
             knows liberation is inevitable.
    Case 1:24-cv-00523-RP Document 32-11 Filed 08/19/24 Page 62 of 70



        ◆ Zionists are telling Gazans to leave while also denying them freedom of
            movement–this is a call for genocide of Palestinians.
                 ● “I say to the residents of Gaza: Leave now because we will operate
                    forcefully everywhere.”--Netanyahu
        ◆ This is not “unprovoked”. Apartheid, ethnic cleansing, indiscriminate bombing,
            arbitrary detention, destruction of infrastructure, 75 years of settler
            colonialism are provocations.
●   Liberation is material
        ◆ Liberation is not an abstract concept. It is not a moment circumscribed to a
            revolutionary past as it is often characterized. Rather, liberating colonized land
            is a real process that requires confrontation by any means necessary. In
            essence, decolonization is a call to action, a commitment to the restoration of
            Indigenous sovereignty. It calls upon us to engage in meaningful actions that
            go beyond symbolism and rhetoric. Resistance comes in all forms— armed
            struggle, general strikes, and popular demonstrations. All of it is legitimate,
            and all of it is necessary.
        ◆ “You don’t get freedom peacefully. Freedom is never safeguarded peacefully.
            Anyone who is depriving you of freedom isn’t deserving of a peaceful
            approach by the ones who are deprived of their freedom.”-Malcolm X
●   israel is fragile
        ◆ This action of resistance shatters the illusion of Israel as an impenetrable,
            indestructible entity. The zionist entity is fragile, and Palestinian resistance is
            alive. The iOF are still in disarray and the resistance fighters are still launching
            new attacks into 48.
        ◆ The zionist entity built a massive technological barrier to imprison Gaza that
            the resistance neutralized in hours. They massively underestimated the
            ingenuity of the resistance, and will continue to do so.
        ◆ Settlers are already fleeing the land, their ‘dedication’ to the settler colony is
            easily broken. The dedication of Palestianians for their national liberation is
            unshakable.
        ◆ From Rhodesia to South Africa to Algeria, no settler colony can hold out forever.
●   Unity Intifada
        ◆ The revolution is being waged across historic Palestine— not just
            cross-factional, but unifying our people in the name of resistance
        ◆ All Palestinian factions in Gaza appear to be participating under unified
            command.
        ◆ This is the first time since 1949 that a large-scale battle has been fought within
            ‘48 Palestine.
●   We as Palestinian students in exile are PART of this movement, not in solidarity
    with this movement.
        ◆ This is a moment of mobilization for all Palestinians. We must act as part of this
            movement. All of our efforts continue the work and resistance of Palestinians
            on the ground.

                                     HASHTAGS
●   #studentdayofresistance
●   #operationalaqsaflood
●   #nationalliberationisnear
●   #dayofresistance
    Case 1:24-cv-00523-RP Document 32-11 Filed 08/19/24 Page 63 of 70




                      TEMPLATE GRAPHICS
CANVA GRAPHIC TEMPLATE LINK FOR PROTESTS [LINK WITH
BELOW GRAPHICS]

TABLING MATERIALS AND OTHER GRAPHICS COMING SOON
Case 1:24-cv-00523-RP Document 32-11 Filed 08/19/24 Page 64 of 70




GLORY TO
 "GAZA
  THAT GAVE HOPE TO THE
OPPRESSED, THAT HUMILIATED
THE "INVINCIBLE" ZIONIST ARMY




                                                    (oDrebelmusakhan
raiesmuans are raiesmnan: Arao israeu is au onensive                                                   "never spread me occupsuon s propaganaa, ano
                                                  Case 1:24-cv-00523-RP Document 32-11 Filed 08/19/24 Page 65 of 70
label and should not be used. It erases Palestinian identity                                             do not contribute to instilling a sense of defeat
and confuses Palestinians with "Mizrahi" and Sephardic                                                   This must be focused on, for soon, we will stan
settlers. "Palestinian citizens of Israel" is often intentional-                                         talking about a massive invasion in Beit Lahia
ly used to whitewash the zionist regime as seemingly                                                      and Al-Nusseirat, for example. Never spread
democratic, when Palestinians who are occupied often
                                                                                                        panic; be supportive of the resistance and do no
face constant harassment, policing, and exploitation. It is
                                                                                                          spread any news broadcast by the occupation
important to note that Palestinians are unified across
                                                                                                           (forget about the ethics and impartiality of
religion and region, and usage of skin-tone identity is
                                                                                                          journalism; just as the Zionist journalist is a
typically a Western framing. One must also be careful of
how they label a Palestinian in the West, as "Ameri-                                                                      fighter, so are you)."
can-Palestinian" is not chosen and serves as a compliance
label to imperialism. Palestinians are not in the West                                                                                    BASIL AL ARAJ
willingly, and their aspiration to return home, across
generations, is important to respect m any interview.


Interview and center Palestinians on the ground as a
priority since Palestinians are often spoken over or spoken
for by insidious actors.


Section 6: Nonnalizadoai. Humanitarianism. and
Safety
Normalization means recogmzmg or engaging with the
Zionist entity in any form.


Normalization is treasonous and any suggestion of
engaging with Zionists is considered norming the abuser.
                                                                     Glory to the martyrs.                The Resistance News Netwodc shares this collaborative
Oigamzations may claim a humanitarian approach but                 Freedom for the prisoners.             and unified guidance by Palestinian grassroots media
must be examined for their funders, as many who claim to                                                  organizers to leaders, organizations, media outlets, as
                                                                    Healing to the wounded.
uphold Palestinian life do so to identify vulnerable                                                      well as organizations and individuals standing in
Palestmians to exploit them. Organizations under the                Disgrace on the traitors.             solidarity to critically and accurately convey a
umbrella of New Israel Fund and Foundation for Middle              Victory to the resistance.             consistent line regarding the current events in occupied
East Peace must be referenced carefully with this m mind,
                                                                                                          Palestine.
as they often reflect normalization agendas.

Be mindful of safety for Palestinians m the West should                                                   This undertaking is in response to requests from
they be interviewed, as they are constantly surveilled,                                                   industry reporters, editors, and producers who are
threatened, and blacklisted for any expression. Offer to                                                  seeking resources and authentic Palestinian
allow anonymous positions, to blur out their photos, or to                                                perspectives. Industry reporters have access to a list of
use false names to keep them safe from harassment and                                                     Palestinian sources, and these are underutilized for clea
threats.                                                                                                  reasons of slanted propaganda. Hence if the below are
                                                                                                          not conveyed in the coverage of events in occupied
Be mindful of photos and-video fi-om actions and protests
                                                                                                          Palestine, it is safe to ascertain the positionality of that
as these are often leveraged against Palestinians when
                                                                                                          media platform. This is not an exhaustive list of
they return to Palestine, when applying for jobs or
                                                                                                          guidelines and resources, and RNN expects these
schools, and even when trying to purchase homes. Seek
                                                                   HTTP://T.ME/PALESTINERESIST           recommendations to evolve as events evolve.
permission before you photograph from organizers or
individuals and provide options of safety.
                                               Case 1:24-cv-00523-RP Document 32-11 Filed 08/19/24 Page 66 of 70
Seotkm 1: ODeradomAl-AasaFloodmdtfae                            The ziamst entity encourages and rewards settlements           The Palestinian Authority is not an ofl&cial government
Broader Context                                                 with the support of the US, Europe, Ukraine, and               and doesTiotTOpreseut the-people. It is a product of US
                                                                elsewhere despite warnings from the Joint Operation            imperialism and the conciliatory Oslo Accords.
Remember 1he broader context of Operation Al-Aqsa               Room, with even the U.S. issuing soft statements of
Flood as an event that manifested from prior conditions,        staged accountability to the degenerate terms of the           Secdon 4: Setfler Colonialism anrf Acnwmtnlnlttv
namely, that: it comes from the Joint Operations Room           Oslo concessions, against the miplications of settlement
in Gaza that is composed of many different factions,            expansion. To Palestinians, the entu-ety of the zionist        "Israelis" are only victim to then- own supremacist
religions, and political ideologies yet united in princi-       entity is a settlement.                                        fiiee-wOl and bad choices: All "Israelis" are settlers and
pies of liberation, goals, and tactics. This Joint                                                                             as settlers they partake in the risks associated to stealing
Operations Room is accountable to a transnational               Equality is NOT the cause of Palestinian liberation.           land and resources. There is no such thing as an
formation called the Unity of the Fields. The conditions        There is no potential equality between the colonized and       innocent settler. Zionists often have dual citizenship and
of Gaza and all Palestinians in the camps throughout the        colomzer. The Palestinian liberation movement seeks            easily enjoy access to the United States, while people in
West Bank, Lebanon, Syria, and Jordan, as well as those         the complete return of ancestral homeland and the return       Gaza and the West Bank are trapped behind partition
exiled, is manifested by over a century of settler              of its people to this land. Palestinians do not view this as   walls, military watchtowers, and surveillance
colonialism that the United Kingdom and the United              a movement of "equality," or ending "apartheid".               mechanisms. All Zionists, with very few exceptions,
States have supported alongside NATO, the European              Liberal Zionists and their lobbies hope Palestinians buy       must serve.

Union, and others.                                              into this agenda but it is wholly rejected.
                                                                                                                               Section 5: Media Framme and faifiaeement
The Joint Operations Room has constandy warned                  The zionist entity cinrenfly holds over 5,000 hostages in
against zionist violence, abduction of hostages, sieges,        the occupation prisons, includmg women and children.           Framing this as Hamas-"israel" is mtentianal to lead
murder, and other atrocities for years now that have            It tortures them, abuses them, sexually assaults them,         towards Islamophobic campaigns, which currently have
afflicted people throughout occupied Palestine, while           withholds medical treatment, trials experimental               resorted to calling Palestinians "barbaric" and "terror-
the Unity of the Fields has amplified these warnings as         substances on them, and is slowly murdering them.              ists," terms that have been used against Palestinians and
people in Lebanon, Syria, Iraq, Iran, Armenia, and                                                                             Arabs throughout their resistance journey. The revival of
elsewhere have also been attacked by Zionists. Despite         Section^: Uuderstandinc Resistance                              these terms is indicative of colonial insecurity to frame
these warnings, Zionist leaders have continued their                                                                           the native Palestinian as a caricature. The resistance is
violent aggressions.                                           The resdstance of Palestinians against violent settler          shoulder to shoulder, from Marxist to Islamist factions,
                                                               colonialism is valid and it is not Ifae role of any jounnal-    responding to the call ofAl-Qassam Brigades'
Section 2: Palestinian Liberation and the Zionist              ' ist or figure to decry this response, but rafherto undff-     commander-in-chief Mohammed Deif.

                                                                 stand its manifestations. The right to resist via armed
                                                                 stmggle is enshrined in international law (UN Res             Refuse "both sides" fi-ammg, because this is a severe
Axrti-ziosusm niesns tiic dismsutlement offfae ziouist         45/130). However, it does not need Western law nor              power andTesoTOceTmbalaace. Zionists have nuclear
entity. Anti-zionism does not mean post zionism, or that       institutions for validation as this only centers the role of    capabilities and space weaponry and have been gladly
the "two sides" are "equal." It is never over until            empire, colonialism, and capitalism. The Palestinian            selling and sharing this with other repressive move-
                                                               movement for liberation is against these institutions.          ments around the world.
imperialism is over. It is not over until all land, from the
river to the sea, has been returned to the indigenous          This movement for self autonomy is inherent to the
Palestinians and the occupation has been totally               years long strategic formation of the Joint Operations          Framing the victim must center settler colomaHsm:
dismantled. It is never over until imperialism is over.        Room in Gaza, the grassroots resistance throughout the          Cries ofvictimhood from Zionists and their apologetic
                                                               occupied West Bank, the mobilization of Palestinians in         allies often arise from their own internal contradictions.
R is referred to as the zionisc entity or "israel", because    historical occupied Palestine, and Palestinians                 A sound journalist must explore these contradictions,
it is a colony. The name of Palestine and all of the           everywhere.                                                     whether related to class, identity, or other forms of self
                                                                                                                               mterest.
Palestinian villages are the permanent names and will
never be erased. This is how Palestinians refer to their       This is NOT a sudden war. This is a long and steadfast
ancestral lands and villages after Zionists ethnically         resistance movement against settler colonialism: The            Flaming the hero must center settler colomaHsm.
cleansed the area m 1948.                                      resistance has been consistent since the British invasion
                                                               of Palestine and onward against settler colonialism.            This has never been a "hoty war."
Case 1:24-cv-00523-RP Document 32-11 Filed 08/19/24 Page 67 of 70




                                                         NOTES FROM

                                                         'REJECT NORIViALIZATION OF
                                                         'THE ZIONIST ENTFTY AND ITS
                                                          AGENTS. EMRACE THE
                                                          THAWABIT AND ALL FORMS OF
                                                          PALESTINIAN RESISTANCE.
                                                         THIS BOOKLET IS PART OF A COORDNATED AND
                                                         INTENTIONAL EFFORT TO UPHOLD. THE PRINCPLES OF
                                                         THE THAWABIT AND THE PALESTINIAN RESISTANCE
                                                         MOVEMENT OVERALL. BY TRANSMnTINQ THE WORDS
                                                         OF THE RESISTANCE DIRECTLY. THIS MATERIAL AIMS
                                                         TO BUILD POPULAR SUPPORT FOR THE PALESTINIAN
                                                         WAR OF NATIONAL LBERATUN, A WAR WHICH IS
                                                         WAGED THROUGH ARMED STFiUQGLE.

                                                         The following speeches, poems and quotes reflect s
                                                         variety of Palestinian voices and perspectives, and are
                                                         sourced mostly from Resistance News Network




                                                                                                         DEPUTY HEAD OF HAMAS SHEW SH-Bi M--MSOWI ON DAY
                                                                                                        10F THEAL-AQSA FLOOD OPERATION
             THE THAWABIT:                                                                              OTOCT2023
             (fundamental principies of the Paiestinian struggle crested by the PLO in 1977)
                                                                                                        What started is not just an              We have information that the
               Reject cctonialism In all its manifestations.                                            operation, but a battle that will        occupation army was preparing,
               Denounce normalization* in all its forms                                                 expand, escalate, and deepen.            after the holidays, to launch a
                                                                                                                                                 major aggression against our
            > Support resistance against the ztonist mo\wnent by any means
                                                                                                        The battle has a goal: the freedom       people in the West Bank and
               necessary.                                                                               of our people and the liberation of      Gaza The battle is coming, and
               Free Palestine from occupation by soldiers and setdere, River to Sea with                our sanch'ties. Therefore, the baffle    the aggression began with the
               AIQuds as her capital.                                                                   continues, escalates, until              desecration of the sanctfties and
            • Secure right of return for all Palestinians.                                              achieving the victory with the           the enem/s intention to attack
                                                                                                        deserved freedom of our' people.         Gaza and the West Bank.
               Preserve Palestinian self-determination and seff autonomy.
                                                                                                        We will not continue to accept the       We are ready to defend the
                                                                                                        desecration of our sanctities, w         dignity and freedom of our
            itWAUDALWAWI ON THE THAWABIT                                                                the imprisonment of our prisoners        people.
            fo be principled:                                                                           in jails, or the continued siege of
                                                                                                        Gaza.                                    We hope that the resistance will
              Is to underetand thai sn action's efficie-nt is solidly intertwned with the non-                                                   cover all of Palestinian land, and
              negotiable slate of the prindptes n whfch the acijon is rocAed
                                                                                                        What we have in our hands will           God wiBing, there wil be effective
              is to be s potent and efftefent cog in the machiner/ ofJJberation that can oniy work in   free ail the prisoners from the          solidarity and a strong stance
              unrty and on a sofid foundation                                                           occupation jails.                        from both frie Arab and Muslim
                                                                                                                                                 nations.
              is to uphold the Thawabit at a8 costs and ca!i out any indi.vldual WHO tries to
                                                                                                        There is a large number of "Israeli"
              compromise their validity
                                                                                                        captives, and there are senior
            he oppressor seeks to wmprumise our Thawabit by funding unprindptecf individuals            officers among the captives. The            HONOR OUR
            tomnalizBrs" who SniSb-ate our cird^ and biur our vision for justice tewards accepting      battle is still at its peak, and the        MARTYRS
            td normslizing our op^wsor.                                                                 freedom of our captives in prisons
                                                                                                        is imminent
              *norms|izartk>n: VEdkteting the ifonist cdony's exEtenoe by endorsing or
              collaborating with an hdrvkluai, gnoup, enijty or ideology that represents any form of
              "israejj" aspiratbns or sentiments,
                                                                                                        We captured senior officers from
                                                                                                        the occupation army, and we will
            onnafizers instil a sense of hopelessness that immobifEzes and pushes us to                 capture more until the prisons are
            ampromise on our demands^. Spot the flags:                                                  empted.
                Poriraying PatesBnians as weak, emplTasizinc) suffering over resBlence.
            '' Uiaizing ctef^fet fanguage Eo insta! helplessness and provoke sympathy rather than       The resistance Is prepared tbf the
                action                                                                                  worst scenarios, including a               SAI.EH dl.-AROURI
            • condemning armed resistance to shame Palestinians into sufFering and s\ence               ground invasion. An "isradi"                FREEDOM FIGHTER A
                                                                                                                                                          HI
            • EmphasEng western kdenffly pofrtics to disEract from the unified goal of our              ground invasion would be the best               is6S-aoa4
                iiberation
                                                                                                        scenario for us to settle the conflict                    •8YATAROETED[0(
            . Adopting two-elate tennMogy for Palestinian land (Eg. W/E Jenjsalem instead of                                                                      JAN 3, 202<.

                occuued Jerusalem, 'Tei Aviv" h^ead of occuoied Yaffia                                  against the enemy.
Case 1:24-cv-00523-RP Document 32-11 Filed 08/19/24 Page 68 of 70



              "I hope the media stops
              showcasing the paiestinian
              as someone begging for the
              world's sympathy, prayers
              and money, i hope they
              portray us as freedom
              fighters in order to gain
              fighters and partners in the                                      FREE AHMAD SA'ADAT!
              struggle"                                                   Born in 1963, Ahmad Sa'acfat is         Today, Sa'actat is serving a ftfe
                                                                          giant in the Pslestinian political      sentence. However, he remains
                                                                          struggle, Sa'adat joined -the           steadfast, as he reguterfy expresses
                                         - Ahed Tamhni                    Palestinian nationsrf movement in the   scildarity with the ongoing struggle,
                                                                          iate-60s as a young student In 2001,    lending his support to other prisonere,
                                                                          after decades of fighting and being     such as Georges AbdaSah, whom he
                                                                          subject to imphsonment numerous         refers to as "the general of PFLP
                                                                          times, Sa'adat was elected              prisonere." The Zksnsst enemy does
                                                                          Seaetary-General of the Mamst-          not want to see ttie day Sa'adat is
                                                                          Leninist Popular Front for the          liberated, for it would change the entire
                                                                          Uberafen of Pdestine (PFLP)—a           poKcal landscape of Pafestine—
                                                                          group that has counted the likes of     bringing the Zionists ever ck)ser to
                                                                          Lela Khated and Ghassan Kanafanl        extinction. But we know Sa'adat,
                                                                          amor^st rts ranks. In 2002, Sa'aciat    atongade 11,000 other Palestinians
                                                                          was abducted by the Palestinian         being held in Zionist pn'sons, wil soon
                                                                          Authority (PA), a pditfcal mechanism    return home. Long live Ahmad
                                                                          that exists to acquiesce and            Sa'adatl Long Eve the PRJ1! Long Eve
                                                                          aiaborate with the Zionist enemy        the Palestinian armed resistanc&t
                                                                          whle fraudidenSy presenting itseif as
                                                                          the nghtfui "representative" of the
                                                                          Palestinian peopte. Several years
                                                                          later. In 2006, Sa'adat, atongside a
                                                                          number of other prisoner?, wens
                                                                          kidnapped from a Jericho prison by




                                                                               ISUWHC RESISTANCE WOVSMBW-WU'MS
                                                                                 I^JJ.WME; OF AUAH, THE MOST SRAOOUS, THE MOST

                                                                                A-CAUL TO OUH ARAB AM3 ISLAMIC NATION AND WE FREE
                                                                                REPPL£-W'.THE WORLD! LET US ALL UNTTE VWTH-aAZA-AND
                                                                                PM-ESTNE UNn. TOEAGQRESsioNSTOPsT

                                                                                In tfie face of the continued Nazi
                                                                                                                            We also renew our invitation to
                                                                                occupation's genocide and the
                                                                                                                            the free people and those with
                                                                                horrific massacres committed by
                                                                                                                            living consciences around the
                                                                                the Zionist occupation over two
                                                                                                                            worid to continue and escalate
                             Spread the word!                                   months against more than two
                                                                                                                            their global public movement,
                                                                                million Palestinian citizens, we call
                                                                                                                            rejecting the occupation's
                    RESISTANCE NEWS NETWORK is delivering the                   upon the masses of our Arab and
                 truth of Palestinian resistance to an audience far and                                                    crimes, in sofidarity with our
                                                                                Islamic nafon, its scholars, men,
                  wide. Tell your friends, family, and comrades to Join                                                    people and their just cause and
                    RNN for high quality, live resistance news and              tristitutions, and active forces to
                                                                                                                           legitimate stujggle, caling for an
                                   analysis in English.                         come out in roaring crowds
                                                                                                                           end te) the aggression and the
                                                                                tomorrow, Friday, and all the
                                                                                                                           genocide against children,
                                                                               coming days in every city, capital.
                                                                                                                           women, and civilians. Let us ait
                                                                               and square, to activefy participate
                                                                                                                           unite tomorrow, Friday, and in
                                                                               in soldarity marches and
                                                                                                                           the coming days, expressing
                                                                               demonstrations with our people in
                                                                                                                           our solidarity with Gaza and
                                                                               the Gaza Strip, pressuring for the
                                                                                                                           Palestine, against the crimes of
                                                                               intrcxjuction of relief, humanitarian,
                                                                                                                           the occupation, until the
                                                                               and medical aid to all parts of the
                                                                                                                           aggression stops.
                                                                               Gaza Strip, and to stop the Zionist
                                                                               aggression against defenseless
                                                                                                                                             07 DEC 2023
                                                                               innocents.
Case 1:24-cv-00523-RP Document 32-11 Filed 08/19/24 Page 69 of 70




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                                                                    Page 70 of 70
                              IN LAW. COLONIZED PEOPLES REQUIRE UNQUESTIONABLE AND
     E-!
                              UNCONDITIONAL SUPPORT TO FIGHT FOR THEIR RIGHTS,
     <
     Q:                       REGARDLESS OF WHAT INTERNATIONAL LAW DICTATES.
     UJ
     co

                              PALESTINIANS HAVE BEEN RESISTING SINCE BEFORE THE NAKBA
     0
     E-<                      OF 1948, AND THEY CONTINUE TO RESIST.
     w
     E-i   THE EVOLUTION OF KESISSM^CE
     <
     tu
     a:    Armed, united brigades like the Lions' Den and Jenin Brigade carry out resistance activity
     3:
     E-    daily across Palestine (Jenin, Nablus, Tulkarem, Ramallah, Bethlehem, Al-Khalil, and elsewhere),
           targeting colonial checkpoints and settlers. Driven by their love for liberation and dignity,
           these groups have massively expanded since the Unity Intifada of 2021; a new model of resistance
           has emerged characterized by blurred factional lines, self-sacrifice, and commitment to national
     w
     Q:    values.
     0
     &-<
     1—1   UNITY MEANS LIBERATION;
     <
     Cf.
     E-<   Palestinian resistance factions are more unified than ever through the Joint Operations Rooms




01
           in Gaza and Jenin. Today, they wage the struggle for liberation under the Palestinian flag first,
           coordinating Joint armed and rocket attacks on Zionist settlements. The fields have united,
           with Gaza, the West Bank, the occupied interior, the refugee camps in Syria and Lebanon, and
     EH
           the diaspora at large confronting zionism and the occupation as one heart.
           AKMED RESISTANCE IS INCREASING:
           As zsionist aggression escalates, so too does the desire for Palestinians to live with freedom and
           dignity on their liberated homeland from the river to the sea. Shooting operations have quadrupled
           since 2021, owing to the new model of resistance forged in the West Bank working hand-in-hand with
     UJ    Gaza. Over 2,300 rockets have been launched from all fronts since last year.
     I
     Ei
           CRACKS IN THE FRAGILE ENTITY:
     LU
     E-!
     <     As a consequence of heightened resistance, billions of dollars have been withdrawn from the
     Q:
     Id    Zionist entity in the last six months. Settlers and investors no longer believe in the future
     03
           of zionism. Hundreds of thousands have left and plan to never settle in Palestine again.
           Zionist applications for foreign passports have skyrocketed 10-30% this year. The Zionist
           entity continues to fracture under the weight of its own contradictions.

           DIASPORIC RESISTANCE:
                                                                                            y////////////////////w////iy/,

           Direct action from Palestinians and allies abroad/ such as by Palestine Action, has led to the
           closure of multiple ssionist weapons factories and a five-year-low in Elbit's stock price. Rocket
           fire from Lebanon and Syria to support resisting Palestinians in Palestine reaffirms -the unity of th<




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           fields. Cyberattacks targeting the entity from outside have significantly increased.

     u     THE COMPRADOR ENEMY:
                                                                                          SHOOTimOI'ERATIOHS:
           The US- and zionist-backed Palestinian Authority has                           28SXH2022.
           escalated its efforts to repress the growing resistance.
                                                                                    300
     0     Despite these efforts, the resistance grows daily, proving
           that no normalizing and traitorous "security summits" can
           halt the indomitable tide of liberation.                                 200

           MOBE THMf JUST "APARTHEID":                                              100
     0     ^//////Ay/v///^w

           The liberation struggle seeks to end the Zionist settler-
     0     colonial project of "Israel." 0
           We are not satisfied with co-existence or ending "apartheid,"                  2019 2020 2021 2022
           a symptom of settler colonial ism. Ending apartheid does not
           mean ending occupation. Liberate the land, from the river to the sea!




H|
               PLUG IN. WITNESS THE LIBERATION OF PALESTINE, ONE INCH AT A
             TIME, FROM THE RIVER TO THE SEA. RNN IS A LENS INTO THE ONGOING
           LIBERATION STRUGGLE THAT SEEKS TO LIBERATE THE LAND OF SETTLERS


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                                 TRAITORS, AND THREATS TO LIBERATION.
                               RESISTANCE NEWS NETWORK
                                 T.ME/PALESTINERESIST
